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                             UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

IN RE:                                                      §
                                                            §
PAYSON PETROLEUM 3 WELL, LP,                                §              Case No. 17-40179
                                                            §              Chapter 7
         DEBTOR.                                            §


JASON R. SEARCY, CHAPTER 11,                                §
TRUSTEE FOR PAYSON                                          §
PETROLEUM, INC.,                                            §
                                                            §
      Plaintiff,                                            §
                                                            §
vs.                                                         §              Adversary No. 18-04074
                                                            §
ACME ENERGY COMPANY, LLC, ET AL.,                           §
                                                            §
      Defendants.                                           §


    JOINT RESPONSE IN OPPOSITION TO MOTION OF VARIOUS DEFENDANTS TO
                       DISMISS AND BRIEF IN SUPPORT

                                            [Relates to Docket No. 10]




                                                              
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            RESPONSE TO MOTION TO DISMISS AND BRIEF IN SUPPORT

TO THE HONORABLE BRENDA RHOADES, U. S. BANKRUPTCY JUDGE:

       COME NOW Jason R. Searcy, Chapter 7 Trustee for Payson Petroleum, Inc. in

substantively consolidated Bankruptcy Case No. 16-41044 (the “Payson Trustee”) and Christopher

J. Moser, Chapter 7 Trustee for Payson Petroleum 3 Well, L.P. in Bankruptcy Case No. 17-40179

and Payson Petroleum 3 Well 2014, L.P. in Bankruptcy Case No. 17-40180 (the “LP Trustee”) to

file their Joint Response to Motion of Various Defendants to Dismiss and Brief in Support, and

respectfully show unto the Court the following:

                                        I.
                        NOTE REGARDING CITATIONS TO RECORD

       1.      Movants assert their Rule 12(b)(1) motion to dismiss is a “factual attack” on the

Payson Trustee’s standing to assert the claim in this lawsuit (the “Section 723 Claim”) and that the

only evidence required to prove their factual attack “appears of record.” Motion of Various

Defendants to Dismiss and Brief in Support (the “Subject Motion”) at pp. 4-5. For ease of

reference and to avoid attaching documents already in the Court’s record, the Payson Trustee and

LP Trustee (the “Trustees”) cite to pages of pleadings and orders filed in Bankruptcy Case Nos.

(i) 16-41044 (In re Payson Petroleum, Inc.), (ii) 17-40179 (In re Payson Petroleum 3 Well, LP),

and (iii) 17-40180 (In re Payson Petroleum 3 Well 2014, LP) by referencing the numbers the Clerk

added to the top of each document filed. For example, the Trustees’ citation to the first page of

Exhibit A to their Joint Motion to Approve Compromise and Settlement Pursuant to Bankruptcy

Rule 9019, filed in Bankruptcy Case No. 16-41044, would be “Docket No. 154-1 in Case No. 16-

41044 at p. 2.” Similarly, the Trustees’ citation to pages four and five of the order approving that

motion would be “Docket No. 265 in Case No. 16-41044 at pp. 4-5.”




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                                                II.
                                         BACKGROUND FACTS

       2.      Payson Debtors File Bankruptcy. On June 10, 2016, Payson Petroleum, Inc.

(“PPI”), Payson Operating, LLC (“PO”), and Maricopa Resources, LLC (“Maricopa” and

collectively with PPI and PO the “Payson Debtors”) filed voluntary petitions under Chapter 7 of

the United States Bankruptcy Code (the “Bankruptcy Code”). See Docket No. 1 in Case Nos. 16-

41043, 16-40144, and 16-40145. On July 12, 2016, the Court entered orders converting these

bankruptcy cases to cases under Chapter 11 of the United States Bankruptcy Code. See Docket

No. 39 in Case No. 16-41043; Docket No. 33 in Case No. 16-41044; and Docket No. 41 in Case

No. 16-41045. On July 18, 2016, the Court entered orders approving the United States Trustee’s

applications to appoint the Payson Trustee as Chapter 11 Trustee in these bankruptcy cases. See

Docket No. 55 in Case No. 16-41043; Docket No. 50 in Case No. 16-41044; and Docket No. 57

in Case No. 16-41045. On August 11, 2016, the Court ordered the joint administration of these

debtors’ bankruptcy cases under Case No. 16-41044. See Docket No. 75 in Case No. 16-41043;

Docket No. 73 in Case No. 16-41044; and Docket No. 81 in Case No. 16-41045.

       3.      LP Adversary Proceeding. On November 1, 2016, the Payson Trustee filed his

Complaint to Avoid and Recover Transfers Pursuant to 11 U.S.C. §§ 548, 547, and 550 (the

“Original Complaint”) in Adversary Proceeding No. 16-04106 (the “LP Adversary Proceeding”)

against Payson Petroleum 3 Well, LP (“3 Well LP”) and Payson Petroleum 3 Well 2014, LP (“2014

LP”) to recover certain oil and gas interests transferred from Maricopa to 3 Well LP and 2014 LP

during the 90-day preference period. See Docket No. 1 in Adv. Proceeding 16-04106.

       4.      Answer to LP Adversary. On December 19, 2016, 3 Well LP and 2014 LP

answered the Original Complaint. See Docket No. 17 in LP Adversary Proceeding. 3 Well LP




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and 2014 LP were originally represented by attorney Daniel P. Winnika from the law firm of

Loewinsohn Flegle Deary Simon, LLP. See id. at p. 10.

       5.      LP Debtors File Bankruptcy. On January 31, 2017, 3 Well LP and 2014 LP

(collectively the “LP Debtors”) filed voluntary petitions under Chapter 7 of the Bankruptcy Code.

See Docket No. 1 in Case No. 17-40179 and Docket No. 1 in Case No. 17-40180. Jeff Cohen

signed each voluntary petition as “Managing Member of 3 Well MGP, LLC, managing general

partner of debtor.” See Docket No. 1 in Case No. 17-40179 at p. 4 and Docket No. 1 in Case No.

17-40180 at p. 4. Mr. Winnika represented the LP Debtors in connection with their bankruptcy

filings. See id. The parties who filed the Subject Motion (the “Movants”) were served with 3 Well

LP’s bankruptcy petition. See Movant Chart, attached as Exhibit A. LP Trustee was appointed

as Chapter 7 Trustee for the LP Debtors.

       6.      Stay Issues. On February 21, 2017, LP Trustee filed his Certificate of Notice of

Bankruptcy Filing and Stay in the Adversary Proceeding. See Docket No. 24 in LP Adversary

Proceeding. On March 31, 2017, the Payson Trustee filed his Motion to Lift Stay in the LP

Debtors’ bankruptcy cases which, inter alia, explained that the Payson Trustee had “identified

additional claims against the Debtor LPs” and “numerous general partners of those limited

partnerships who the Payson Trustee believes are jointly and severally liable to the Payson Debtors

for damages arising from” the Payson Debtors’ claims.” Docket No. 16 in Case No. 17-40179 at

p. 3 and Docket No. 14 in Case No. 17-40180 at p. 3. The Payson Trustee’s lift stay motion also

explained that the LP Trustee was opposed to the Payson Trustee proceeding with claims against

the LP Debtors’ general partners. See id. at p. 4. On April 4, 2017, the LP Trustee filed his

Amended Joint Objection, Response, and Request for Hearing to Jason Searcy, Chapter 11 Trustee

of Payson Petroleum, Inc.’s Motion to Lift Stay in which the LP Trustee advised, inter alia, that




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“Trustee Moser asserts that the causes of action that the Movant wishes to assert against the general

partners of the Debtor Defendants belong to him under the auspices of Sections 723 and 541(a) of

the Bankruptcy Code and that any pursuit of those partners by the Movant would be improper.”

See Docket No. 19 in Case No. 17-40179 at p. 3 and Docket No. 17 in Case No. 17-40180 at p. 3.

On June 21, 2017, the Bankruptcy Court entered its Agreed Order Granting Motion to Lift Stay in

LP Debtor’s bankruptcy cases. See Docket No. 29 in Case No. 17-40179 and Docket No. 26 in

Case No. 17-40180. The Court’s Order provided that:

         It is further ORDERED, ADJUDGED, AND DECREED that (i) the Payson
         Trustee may assert state law claims against general partners of Payson Petroleum 3
         Well, L.P. and Payson Petroleum 3 Well 2014, L.P., to [the] extent allowed under
         applicable state law, and (ii) Christopher Moser, Chapter 7 Trustee for Payson
         Petroleum 3 Well, L.P. and Payson Petroleum 3 Well 2014, L.P. … may also assert
         state law claims to the extent allowed under applicable state law and claims under
         11 U.S.C. § 723 against the general partners of Payson Petroleum 3 Well, L.P. and
         Payson Petroleum 3 Well 2014, L.P.

See id. at p.1.

         7.       Amended LP Adversary Complaint. On July 13, 2017, the Payson Trustee filed his

First Amended Complaint in the LP Adversary Proceeding. See Docket No. 25 in LP Adversary

Proceeding. The Payson Trustee asserted the following claims against the LP Debtors:

  Cause                               Nature of Claim                                          Relief Sought
    of
  Action
    1         Constructive Fraudulent Transfer of Maricopa’s                            Avoidance of Subject
              Interests in Subject Wells                                                Wellbore Assignments

              (11 U.S.C. § 548(a)(1)(B) & TEX. BUS. & COM. CODE §
              24.005(a)(2))
     2        Actual Fraudulent Transfer of Maricopa’s Interests in Avoidance of Subject
              Subject Wells                                         Wellbore Assignments

              (11 U.S.C. § 548(a)(1)(A) & TEX. BUS. & COM. CODE §
              24.005(a)(1))




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  Cause                                 Nature of Claim                                          Relief Sought
    of
  Action
    3           Preferential Transfer of Maricopa’s Interests in Subject                  Avoidance of Subject
                Wells                                                                     Wellbore Assignments

                (11 U.S.C. § 547(b))
       4        Actual Fraudulent Transfer of “Investment Funds”                          Avoidance of PPI
                                                                                          Transfers to LP Debtors
                (TEX. BUS. & COM. CODE § 24.005(a)(1))
                                                                                          ($1,274,310 to 3 Well LP
                                                                                          & $2,862,000 to 2014
                                                                                          LP)
       5        Constructive Fraudulent Transfer of “Investment                           Avoidance of PPI
                Funds”                                                                    Transfers to LP Debtors

                (TEX. BUS. & COM. CODE § 24.005(a)(2))                                    ($1,274,310 to 3 Well LP
                                                                                          & $2,862,000 to 2014
                                                                                          LP)
       6        Recovery of Avoided Transfers                                             Recovery of Avoided
                                                                                          Transfers
                (11 U.S.C. § 550(a))
       7        Breach of Contract Against 3 Well LP                                      $17,115,777
       8        Breach of Contract Against 2014 LP                                        $5,343,803

See id.

           8.      Negotiated Resolution of LP Adversary. The Trustees met several times to discuss

resolving the Payson Trustee’s claims. After exchanging not less than five (5) proposed term

sheets, the Trustees agreed to terms on or about August 8, 2017. On September 20, 2017, the

Trustees executed the “Proposed Settlement Agreement.” See Proposed Settlement Agreement,

attached as Exhibit A to the Joint Motions to Approve Compromise and Settlement Pursuant to

Bankruptcy Rule 9019 filed at (i) Docket No. 34-1 in Case No. 17-40179; (ii) Docket No. 31-1 in

Case No. 17-40180; and (iii) Docket No. 154-1 in Case No. 16-41044. Under the Proposed

Settlement, the Trustees agree to resolve the Payson Trustee’s claims by, inter alia, agreeing that:

          the LP Debtors would reassign their interests in the Subject Wells to Maricopa and




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             o the Payson Trustee would market and sell the operating and working interests in
               the Subject Wells;

             o 55% of the Net Suspended Revenues and Sales Proceeds would be paid to
               Maricopa;

             o 12.5055% of the Net Suspended Revenues and Sales Proceeds would be paid to 3
               Well LP; and

             o 32.4945% of the Net Suspended Revenues and Sales Proceeds would be paid to
               2014 LP.

       3 Well LP and 2014 LP would hold allowed unsecured claims in Maricopa’s bankruptcy
        case in amounts equal to the value of the interests in the Subject Wells that each LP Debtor
        reassigns to Maricopa;

       PPI would hold allowed unsecured claims in 3 Well LP’s bankruptcy case in the amount
        of $8,557,888.50 and in 2014 LP’s bankruptcy case in the amount of $2,671,900;1

       PPI and 3 Well LP would each hold a 50% participation interest in 3 Well LP Avoidance
        Action Claims and 3 Well LP Partnership Related Claims, and the Payson Trustee would
        have standing to assert such claims in the 3 Well LP bankruptcy case; and

       PPI and 2014 LP would each hold a 50% participation interest in 2014 LP Avoidance
        Action Claims and 2014 Partnership Related Claims, and the Payson Trustee would have
        standing to assert such claims in the 2014 LP bankruptcy case.

See, e.g., “Joint 9019 Motions” at pp. 5-9 filed at (i) Docket No. 154 in Case No. 16-41044; (ii)

Docket No. 34 in Case No. 17-40179; and (iii) Docket No. 31 in Case No. 17-40180 (explaining

settlement terms and rationale for same); see also Proposed Settlement Agreements (setting forth

proposed settlement terms in more detail).

        9.       Joint 9019 Motions Filed & Served. On September 21, 2017, the Trustees filed

their Joint 9019 Motions. See id. The Trustees served the Joint 9019 Motions and all exhibits



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    The Trustees additionally agreed that PPI’s unsecured claims in the LP Debtor bankruptcy cases would be
    subordinate to all timely filed, allowed general unsecured claims.



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thereto in accordance with the Certificates of Service attached to the Joint 9019 Motions. See

Affidavit of Pat Carpenter, attached as Exhibit B (affidavit testimony that Joint 9019 Motions and

exhibits thereto were served “in accordance with the Certificates of Service attached to the 9019

Motions”). Movants were served with the Joint 9019 Motion in the 3 Well LP bankruptcy case

(and the exhibits thereto). See Ex. A. The Proposed Settlement Agreements, served along with

the Joint 9019 Motions, define and attach the “2014 LP Subject Claims Assignment and

Participation Agreement” and the “3 Well LP Subject Claims Assignment and Participation

Agreement.” Docket No. 34-1 in Case No. 17-40179 at p. 3. The 3 Well LP Subject Claims

Assignment and Participation Agreement defines, inter alia, “3 Well LP Partnership Related

Claims” as “all rights, claims, causes of action and rights of contribution of 3 Well LP … against

any current or former general partner or limited partner of 3 Well LP, including but not limited to

claims under 11 U.S.C. § 723.” Id. at pp. 43-44.

        10.      Partner Objections to Joint 9019 Motions. Prior to the hearing on the Trustees’

Joint 9019 Motions, partners of the LP Debtors filed 104 objections in Case No. 16-41044. See

Docket Nos. 156-164, 166-214, 216-240, 242-245, 247, 249, 250, 252-264, and 271 in Case No.

16-41044 (the “Partner Objections”). All but three (3) of the Partner Objections stated, inter alia,

that:

        Here are the simple facts.          First, approximately 300 investors invested
        approximately $22 million into two partnerships with the intent of developing three
        oil wells. Second, the partnerships paid the promoter the entire amount required by
        the partners’ contributions for the turnkey contract. Third, one of the promoter’s
        companies, Maricopa Resources, LLC, was required to assign the wellbore interest
        to the partnerships once the wells were completed. Fourth, that company ultimately
        assigned the wellbore interest to the partnership, however, after Matt Griffin’s
        companies filed for bankruptcy, the trustee alleged that the transfer was
        inappropriate, even though it was contractually required to do so and all funds
        required to be paid were paid, since it was not assigned on what is alleged to be a
        timely basis. Fifth, consequently the Payson trustee, pursuant to the joint operating


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          agreement, began to operate the wells and failed to turn over the net proceeds of
          that operation to the partnerships as required by the JOA. Sixth, his failure to turn
          over those proceeds purposely denied the partnership the funds necessary to defend
          his meritless allegations and attempt to obtain the wellbore interests. Seventh, our
          partnership’s legal counsel suggested our partnership file bankruptcy in order
          to force those proceeds to be turned over to the partnership’s bankruptcy
          estate, as well as, allow our trustee to cancel the joint operating agreement as
          provided for in bankruptcy rules, which would then provide our partnership
          the necessary funds to defend against the Payson trustee’s meritless
          allegations. Eighth, the partnership took counsel’s advice, however, the new
          trustee never took any action to retrieve those funds or to cancel the joint
          operating agreement, which would have provided us adequate funds to defend
          the action. Ninth, the trustee merely entered into a proposed settlement agreement
          with the Payson trustee, which in effect, gives the Payson trustee all of he
          partnership’s assets, of course, after he and our trustee take their percentage from
          the estate. This is accomplished by giving 55% of the wellbore interests to the
          Maricopa estate which it is alleged failed to timely assign the interests and then
          grant a claim to the Payson Petroleum estate for failure to pay the entire turnkey
          price.
 
See, e.g., Docket Nos. 156-164, 166-214, and 216-240 in Case No. 16-41044 at pp. 1-3 (emphasis

added).

          11.    Trustees’ Response to Partner Objections. On October 20, 2017, the Trustees filed

their Joint Response to Objections to Joint Motion to Approve Compromise and Settlement

Pursuant to Bankruptcy Rule 9019 (the “Joint Response”). See Docket No. 248 in Case No. 16-

41044. Among other things, the Joint Response again outlined the terms of the proposed

settlement and explained that the proposed settlement would “allow[] PPI Creditors to share in the

proceeds (if any) of claims the LP Debtors may have against … LP Debtor partners.” See id. at

pp. 9-11 & 17.

          12.    Contested Hearing on Joint 9019 Motions. On October 25, 2017, the Court held a

contested hearing regarding the Joint 9019 Motions. See Transcript of Proceedings, attached

hereto as Exhibit C. During the contested hearing, the Court heard argument from attorneys for



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the Trustees, the attorney for JMW Recovery, LLC, and several objecting partners. See, generally,

id. The Trustees provided testimony under both direct and cross examination. See id. at p. 2

(identifying transcript page numbers for direct and cross examination). Mr. Searcy was cross-

examined by Mr. Reed (the attorney for JMW Recovery, LLC), and four objecting partners. See

id. Mr. Moser was also cross-examined by Mr. Reed. The Court allowed closing argument from

the attorneys for the Trustees, Mr. Reed, and three objecting partners. See id. at pp. 62-77. At the

end of the contested hearing, the Court issued its ruling and approved the Joint 9019 Motions. See

id. at pp. 77-80. After issuing its ruling, the Court provided further explanation as follows:

       All we're doing is settling the lawsuits and the causes of action between the
       respective estates. It does not release non-parties to the settlement from whatever
       obligations they may have. It does not create obligations that they don't have. If
       the estates have claims against you for something, like against general partners,
       those issues still remain. If they don't have claims against you because you are a
       limited partner or don't otherwise have liability, the settlement doesn't create
       obligations.

       I believe, based on the evidence the Court has seen in this case and the testimony
       of the respective parties, I don't believe there's going to be any funds available in
       any of the estates to make distributions to investors.

       Am I mistaken in that understanding, gentlemen?

       Okay. So I guess the reality is, based on the funds that are available, investors are
       not going to see money from these estates, because there's not enough money to
       pay the creditors. As I understand it, there was at least a $5 million haircut that
       took place not too long before bankruptcy, because the well did not -- for whatever
       reason, I don't know if it was a dry well, or they just didn't complete it, but there
       was no money flowing from that well. And there was a lot of money that's owed.
       But at the end of the day, there's not going to be any money from the bankruptcy
       estates to you, if you're an investor. If you are a creditor, that's different. Because
       it depends on what priority you have and what secured claims you have in all of
       those issues. If you have liability, especially if you're a general partner personally,
       there may be some issues there. And I think the Trustees have indicated they're
       going to be looking at those and at least have some interest in pursuing those,
       perhaps. So you all should contact lawyers. All I'm giving you at this point is just
       information. You all need to go contact your own lawyers to understand the
       ramifications of these issues, as it affects you.




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Id. at pp. 81:2-82:11.

       13.      9019 Orders. On October 27, 2017, the Court entered the Agreed Orders Granting

Joint Motion to Approve Compromise and Settlement Pursuant to Bankruptcy Rule 9019. See (i)

Docket No. 37 in Case No. 17-40179; (ii) Docket No. 34 in Case No. 17-40180; and (iii) Docket

No. 265 in Case No. 16-41044. The 9019 Order entered in Case No, 17-40179 provides, inter

alia, that the Court found “notice of the Motion and opportunity for a hearing on the Motion were

appropriate and no other notice need be provided” and:

       The 3 Well LP Subject Claims Assignment and Participation Agreement attached
       as an exhibit to the Motion is approved in its entirety as being fair, reasonable and
       in the best interests of Debtor, its bankruptcy estate and parties in interest, and is
       effective and binding on the Parties and all parties in interest according to its terms
       as if set forth fully in this Order.

       Upon consummation of the Settlement Agreement, Payson Petroleum shall
       own a fifty percent (50%) participation interest in the following the 3 Well LP
       Avoidance Action Claims Net Recovery and the 3 Well LP Partnership Related
       Claims Net Recovery as those terms are defined in the 3 Well LP Subject Claims
       Assignment and Participation Agreement.

       Payson Petroleum is hereby granted standing and authority to enforce and
       prosecute the 3 Well LP Avoidance Action Claims and the 3 Well LP Partnership
       Related Claims without further order of this Court. Payson Petroleum is hereby
       appointed the representative of the 3 Well LP bankruptcy estate for purposes
       of prosecuting the 3 Well LP Avoidance Action Claims and the 3 Well LP
       Partnership Related Claims pursuant to the 3 Well LP Subject Claims
       Assignment and Participation Agreement.

       No preclusion doctrine, including the doctrines of res judicata, collateral estoppel,
       issue preclusion, claim preclusion, or estoppel shall apply to the 3 Well LP
       Avoidance Action Claims, 3 Well LP Partnership Related Claims, or Payson/3 Well
       LP Partnership Related Claims as those terms are defined in the 3 Well LP Subject
       Claims Assignment and Participation Agreement by virtue of any parties’ entry into
       the 3 Well LP Subject Claims Assignment and Participation Agreement or this
       Order.

       Pursuant to the 3 Well LP Subject Claims Assignment and Participation Agreement
       and this Order, Payson Petroleum shall have exclusive authority to file suit,


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       prosecute and settle the 3 Well LP Partnership Related claims, the 3 Well LP
       Avoidance Action Claims and the Payson/3 Well LP Partnership Related claims.
       Payson Petroleum is under no duty to initiate any litigation or to take any action
       with respect to the 3 Well LP Partnership Related Claims or the 3 Well LP
       Avoidance Action Claims that in its judgment would not be cost justified.

Docket No. 37 in Case No. 17-40179 at pp. 1-4.

       14.      Performance of Approved Settlement. Since the Court entered the 9019 Orders,

the Trustees have, inter alia, (i) sold the oil and gas interests recovered by Payson Petroleum and

(ii) distributed the hydrocarbon and property sale proceeds pursuant to the approved settlement.

       15.      Deficiencies Determined. On August 28, 2018, the LP Trustee informed the Payson

Trustee that after distributing all current estate assets he expected deficiencies of (i) $2,671,900.50

in the 3 Well LP case and (ii) $8,557,888.50 in the 2014 LP case.

       16.      General Partner Adversary Proceedings Filed. Pursuant to the derivative standing

granted to him under the 9019 Orders, the Payson Trustee, on September 12, 2018, filed (i)

Adversary Proceeding No. 18-04074, which asserts a claim under 11 U.S.C. § 723 against general

partners of 3 Well LP to recover the deficiency in this adversary proceeding (the “Section 723

Claim”), and (ii) Adversary Proceeding No. 18-04076, which asserts a claim under 11 U.S.C. §

723 against general partners of 2014 LP to recover the deficiency in that case. See Docket No. 1

in Adversary Proceeding Nos. 18-04074 & 18-04076.

       17.      Motions to Dismiss. On November 6, 2018, Movants, represented by the law firm

of Whitaker Chalk Swindle & Schwarz PLLC, filed their Motion of Various Defendants to Dismiss

and Brief in Support and their Motion of Various Defendants to Withdraw the Reference. See

Docket No. 10 in Adv. Pro. No. 18-04074 (the “Subject Motion”).




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                                             III.
                                    ARGUMENT & AUTHORITIES

       18.      Law Regarding Rule 12(b)(1) Motions to Dismiss.                        “Motions filed under Rule

12(b)(1) of the Federal Rules of Civil Procedure allow a party to challenge the subject matter

jurisdiction of the district court to hear a case.” Ramming v. United States, 281 F.3d 158, 161 (5th

Cir. 2001) (citing FED. R. CIV. P. 12(b)(1)). “Proper grounds for a Rule 12(b)(1) motion to dismiss

include a plaintiff’s lack of standing to bring suit.” Smith v. Select Portfolio Servicing, Inc., Civil

Action No. 9:15CV61, 2017 U.S. Dist. LEXIS 23778 at **7-8 (E.D. Tex. Jan. 31, 2017). “Lack

of subject matter jurisdiction may be found in any one of three instances: (1) the complaint alone;

(2) the complaint supplemented by undisputed facts evidenced in the record; or (3) the complaint

supplemented by undisputed facts plus the court’s resolution of disputed facts.” Ramming, 281

F.3d at 161. “The burden of proof for a Rule 12(b)(1) motion to dismiss is on the party asserting

jurisdiction.” Id. “In examining a Rule 12(b)(1) motion, the district court is empowered to

consider matters of fact which may be in dispute.” Id. “Ultimately, a motion to dismiss for lack

of subject matter jurisdiction should be granted only if it appears certain that the plaintiff cannot

prove any set of facts in support of his claim that would entitle plaintiff to relief.” Id. “The court’s

dismissal of a plaintiff’s case because the plaintiff lacks subject matter jurisdiction is not a

determination on the merits and does not prevent the plaintiff from pursuing a claim in a court that

does have proper jurisdiction.” Id.

       19.      “When challenging subject matter jurisdiction under Rule 12(b)(1), a party can

make a ‘facial attack’ or a ‘factual attack.’” Smith, 2017 U.S. Dist. LEXIS 23778 at *8. “If the

party merely files a Rule 12(b)(1) motion it is considered a facial attack, and the court looks only

at the sufficiency of the allegations in the pleading and assumes them to be true.” Id. “If a party

submits evidence (such as affidavits or testimony) in support of its Rule 12(b)(1) motion, however,



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the moving party makes a factual attack on the subject matter jurisdiction, and the nonmovant must

submit evidence and prove by a preponderance of the evidence that the court has jurisdiction.” Id.

       20.      In this case, Movants assert that they factually attack the Payson Trustee’s standing

to assert the Section 723 Claim but state that “[t]he only evidence needed is evidence that appears

of record ….” Subject Motion at p. 5.

A.     The Court’s Grant of Derivative Standing to the Payson Trustee Was Appropriate.

       21.      Movants argue the Payson Trustee lacks standing because “the plain language of

the statute provides that the [LP Trustee], and only the [LP Trustee], has standing to assert a claim

under section 723(a).” Subject Motion at p. 7. In this case, the Payson Trustee obtained derivative

standing to prosecute the Section 723 Claim via the 9019 Orders. See Docket No. 265 in Case No.

16-41044 and Docket No. 37 in Case No. 17-40179. The 9019 Order in Case No. 17-40179

provides, inter alia, that (i) the 3 Well LP Subject Claims Assignment and Participation Agreement

… is approved in its entirety;” (ii) “Payson Petroleum shall own a fifty percent (50%) participation

interest in … the 3 Well LP Partnership Related Claims Net Recovery;” (iii) “Payson Petroleum

is hereby granted standing and authority to enforce and prosecute the … 3 Well Partnership Related

Claims;” (iv) “Payson Petroleum is hereby appointed the representative of the 3 Well LP

bankruptcy estate for purposes of prosecuting … the 3 Well LP Partnership Related Claims; and

(v) “Payson Petroleum shall have exclusive authority to file suit, prosecute and settle the 3 Well

LP Partnership Related Claims.” Docket No. 37 in Case No. 17-40179 at pp. 1-4. The 3 Well LP

Subject Claims Assignment and Participation Agreement explains that “3 Well LP Partnership

Related Claims” include the 3 Well LP bankruptcy estate’s “rights, claims, causes of action and

rights of contribution … against any current or former general partner or limited partner of 3 Well

LP, including but not limited to claims under 11 U.S.C. § 723.” Docket No. 34-1 in Case No. 17-




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40179 at pp. 43-44. Thus, the Court granted the Payson Trustee derivative standing to prosecute

the Section 723 Claim against 3 Well LP’s general partners.

       22.      Movants cite to Hartford Underwriters Ins. Co. v. Union Planters Bank N.A. for

the proposition that United States Supreme Court precedent prevents this Court from granting the

Payson Trustee derivative standing to assert the Section 723 Claim. See Subject Motion at p. 7

(quoting 503 U.S. 1 (2000)). In Hartford Underwriters, Justice Scalia wrote an opinion addressing

whether an administrative claimant could independently assert 11 U.S.C. § 506(c) to recover funds

from a secured party’s collateral. See Hartford Underwriters Ins. Co., 503 U.S. at 3. After

addressing the petitioner’s arguments, the Supreme Court held that “11 U.S.C. § 506(c) does not

provide an administrative claimant an independent right to use the section to seek payment of its

claim.” Id. at 14. The Supreme Court, however, expressly noted that:

       We do not address whether a bankruptcy court can allow other interested parties to
       act in the trustee’s stead in pursuing recovery under § 506(c). Amici American
       Insurance Association and National Union Fire Insurance Co. draw our attention to
       the practice of some courts of allowing creditors or creditors’ committees a
       derivative right to bring avoidance actions when the trustee refuses to do so, even
       though the applicable Code provisions … mention only the trustee. Whatever the
       validity of that practice, it has no analogous application here, since petitioner did
       not ask the trustee to pursue payment under § 506(c) and did not seek permission
       from the Bankruptcy Court to take such action in the trustee’s stead. Petitioner
       asserted an independent right to use § 506(c), which is what we reject today.

Id. at 13, fn. 5. Thus, Hartford Underwriters does not stand for Movants’ proposition.

       23.      There was nothing improper about the Court’s grant of derivative standing under

Fifth Circuit precedent. In In re Natchez Corp. of W. Va., the Fifth Circuit explained that a creditor

may obtain derivative standing to assert estate claims “if it has moved the bankruptcy court for

authorization to do so and has shown appropriate circumstances which would permit such action.”

953 F.2d 184, 187 (5th Cir. 1992) (citing to In re Pointer, 952 F.2d 82 (5th Cir. 1992)). In In re

Dierschke, the Fifth Circuit expressly noted that it would not question “a creditor’s ability to pursue



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relief from a fraudulent transfer pursuant to 11 U.S.C. § 544 … because the record indicates that

the bankruptcy court authorized the creditor’s exercise of the trustee’s right to reach fraudulent

transfers ….” 975 F.2d 181, 182 fn. 1 (5th Cir. 1992) (citing In re Natchez Corp. of W. Va., 953

F.2d at 187). And, in Martin v. Sanderson Farms, Inc. (In re Martin), the Fifth Circuit again

explained that bankruptcy courts may grant derivative standing to pursue causes of action that

would otherwise “apply to only the Trustee.” 222 Fed. Appx. 360, 363 (5th Cir. 2007) (citing to

In re Dierschke, 975 F.2d at 182 and In re Natchez Corp. of W. Va., 953 F.2d at 187). This Court

had good reason to grant derivative standing to the Payson Trustee because (i) derivative standing

was a component of a larger settlement that the Court found was “in the best interests of the

Debtor’s estate, its creditors, and other parties in interest,” (ii) eliminated the potential that the

Payson Trustee and LP Trustee would each assert claims against 3 Well LP’s general partners, and

(iii) granted standing to a panel trustee who remains subject to this Court’s oversight. Docket No.

37 in Case No. 17-40179 at p. 1; see also Docket Nos. 16 & 19 in Case No. 17-40179 (Payson

Trustee’s lift stay motion and LP Trustee’s response explaining that each trustee held competing

claims against general partners).

       24.      The evidence justified the Court’s decision to grant the Payson Trustee derivative

standing to pursue the Section 723 Claim. As explained above, the Trustees fully disclosed their

intent to seek derivative standing and reasons for doing so in the Joint 9019 Motion, exhibits to

the Joint 9019 Motion, proposed order, their Joint Response to objections, and via the exhibits,

demonstratives, and argument at the October 23, 2017 hearing. For example, in the Joint 9019

Motion, the Trustees advised parties in interest that (i) “Payson Petroleum shall be granted standing

to prosecute … Partnership Related Claims in the 3 Well LP bankruptcy case” and (ii) derivative

standing would “eliminate[] the potential that the LP Trustee and Payson Trustee would pursue




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substantially similar claims against partners of 3 Well LP in different proceedings and forums.”

Docket No. 34 in Case No. 17-40179 at pp. 5 & 9. In their Joint Response to the Partner

Objections, the Trustees advised that (i) “PPI and 3 Well LP will each hold a 50% participation

interest in … 3 Well LP Partnership Related Claims, and the Payson Trustee will have standing to

assert such claims in the 3 Well LP bankruptcy case” and (ii) that they could not predict the value

of “claims against general partners because the value depends on (i) facts that must be determined

through negotiation or discovery and (ii) the financial wherewithal of litigation targets.” Docket

No. 248 in Case No. 16-41044 at pp. 10 & 19.

       25.      At the October 25, 2017 hearing, the Payson Trustee testified that:

       Both the debtors, for which I am a Trustee, and the debtors, for which Mr. Moser
       [is] Trustee, have certain causes of action and claims against general partners. And
       rather than be the first to the courthouse and fight over who gets whatever recovery
       there is, we agreed that those would be divided 50/50. And that I would have the
       standing to pursue those claims on behalf of both.

Ex. C at p. 26:9-16. During his cross-examination by the trustee for the “Dow Living Trust,

general partner,” the Payson Trustee testified as follows:

       Q: So, it’s been indicated that we would be liable, the general partners would be
       liable for debts. Does this agreement that we’re working on today, or hoping to get
       through, does that relieve us from this liability?

       A: No.

Id. at pp. 42:12 to 43:13. Likewise, counsel for the LP Trustee explained that the majority of the

parties objecting to the Joint 9019 Motions were “GPs, which means they also have potential

liability in this case and there may be demands made against them to contribute monies to this

case.” Id. at p. 18:2-6. And the LP Trustee himself testified that that he intended to sell fifty

percent (50%) of his interests in the Section 723 Claims which were “general partner claims” based

on what “general partners could possibly owe … to the estate for … unpaid funds.” Id. at p. 61:7-



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17. Finally, after issuing its ruling, the Court advised that the Trustees indicated they may pursue

claims against general partners and that persons who could be liable for such claims should

“contact your own lawyers to understand the ramifications of these issues ….” Id. at p. 82:4-11.

         26.     Accordingly, the pleadings, argument and evidence (i) notified parties that the

Trustees were asking the Court to grant the Payson Trustee derivative standing to pursue the

Section 723 Claim and (ii) gave the Court good reason to grant the derivative standing. Given the

Trustees’ competing claims against general partners, it made sense to grant the Payson Trustee

(who routinely practices in front of this Court) standing to be the sole Trustee to prosecute the

various estate claims against general partners of the LP Debtors, especially when the Trustees

agreed to split the net proceeds of those claims 50/50 between their respective estates. Thus, the

Court’s action was appropriate under Fifth Circuit precedent. In re Natchez Corp. of W. Va., 953

F.2d at 187 (explaining that Bankruptcy Courts may grant derivative standing to pursue estate

claims in appropriate circumstances).

B.       Responses to Ancillary Arguments.

         27.     The Trustees believe the following arguments raise no subject matter jurisdiction

issues and, therefore, do not apply to this Rule 12(b)(1) Motion to Dismiss. Nevertheless, the

Trustees respond to Movants’ ancillary arguments as set forth below.

1.       No Stay Violation.

         28.     Movants incorrectly assert that the Payson Trustee violated the automatic stay by

asserting the Subject Claims.2 See Subject Motion at p. 8. To the contrary, the Payson Trustee

asserts the Section 723 Claim pursuant to the derivative standing granted by this Court. “The


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     Movants—who are equity owners of 3 Well LP—probably lack standing to assert a stay violation. See, e.g., St.
     Paul Fire & Marine Ins. Co. v. Labuzan, 579 F.3d 533, 545 (5th Cir. 2009) (Accordingly, to the extent the
     Labuzans’ claims are based on their status as owners/equity holders of CTL, § 362(k) cannot be invoked.”)
     (emphasis in original).


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purpose of the automatic stay is to ‘protect creditors in a manner consistent with the bankruptcy

goal of equal treatment,’ and to prevent a ‘chaotic and uncontrolled scramble for the debtor’s assets

in a variety of uncontrolled proceedings in different courts.’” Lutterodt v. Potter, Civil Action No.

4:17-CV-00058-ALM-CAN., 2017 U.S. Dist. LEXIS 64839 at *14 (E.D. Tex. Mar. 31, 2017)

(quoting Robert v. Bell Helicopter Textron, Inc., No. 3:01-CV-1576-L, 2002 U.S. Dist. LEXIS

9904, at *12 (N.D. Tex. May 31, 2002)). Moreover, once a party has been granted derivative

standing to pursue claims on behalf of a bankruptcy estate, “relief from the stay is no necessary to

provide ‘adequate protection’ of” an estate’s interests in a cause of action. Hyundai Translead,

Inc. v. Jackson Truck & Trailer Repair, Inc. (In re Trailer Sources, Inc.), 555 F.3d 231, 246 (6th

Cir. 2009). And as one bankruptcy court explained:

       The automatic stay ensures that all claims against the debtor will be brought in a
       single forum, the bankruptcy court. The [bankruptcy] case is the basis for taking
       control of all pertinent interests in property, dealing with that property, determining
       entitlements to distributions, the procedures for administering the mechanism, and
       discharging the debtor.

       Generally, the automatic stay, therefore, does not protect the debtor or property of
       the debtor’s estate from actions taken in the bankruptcy case itself.

Henkel v. Lickman (In re Lickman), 297 B.R. 162, 187 (Bankr. M.D. Fla. 2003) (quoting & citing

cases). Thus, the stay is not required to protect 3 Well LP’s interests in the Section 723 Claim and,

in fact, this Court’s 9019 Order fulfilled the purpose of the automatic stay by preventing the Payson

Trustee and LP Trustee from racing to the courthouse to assert separate causes of action against

general partners of the LP Debtors.

2.     No Due Process Violation.

       29.      Movants also incorrectly assert that the 9019 Order is void because: (i) Movants

were not served with a summons along with the Joint 9019 Motion and (ii) the exhibits to the Joint

9019 Motion were not served. See the Subject Motion at pp. 14-18. First, the Trustees were not



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required to serve Movants with a summons along with their Joint 9019 Motions. See FED. R.

BANKR. P. 9014(a) (“In a contested matter not otherwise governed by these rules, relief shall be

requested by motion, and reasonable notice and opportunity for hearing shall be afforded the party

against whom relief is sought.”); LBR 9014-1(a) (“A summons is not required in a contested

matter, but service otherwise shall comply with FED. R. BANKR. P. 9014.”). In fact, it is

questionable whether any of the Movants were entitled to service of the Joint 9019 Motion since

the Joint 9019 Motion sought no relief against Movants. See, e.g., Ex. C at p. 81:2-3 (“All we’re

doing is settling the lawsuits and the causes of action between the respective estates.”).

Additionally, the Court found that “notice of the Motion and opportunity for a hearing on the

Motion were appropriate and no other notice need be provided ….” Docket No. 37 in Bankruptcy

Case No. 17-40179 at p. 2. Second, the exhibits to the Joint 9019 Motions were served with those

motions. See Ex. B. Movants’ argument relies on the certificates of service to the Joint 9019

Motions which do not expressly state that the exhibits to the Joint 9019 Motions were served along

with the motions themselves. See, e.g., Docket No. 34 in Case No. 17-40179 at p. 12 (certifying

that “a true and correct copy of the foregoing Joint Motion to Approve Compromise and Settlement

Pursuant to Bankruptcy Rule 9019 was duly served as follows …”). It is not surprising that

Movants offer no evidence in the form of affidavit testimony or otherwise to suggest that the

exhibits to the Joint 9019 Motions were not served because the exhibits were served along with

the Joint 9019 Motions. See Ex. B. Even if the exhibits had not been served, however, no due

process violation would have occurred because, as explained above, the Joint 9019 Motions

themselves notified parties that the Trustees were asking the Court to grant the Payson Trustee

derivative standing to pursue 3 Well LP’s claims against general partners.




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3.     No Collateral Estoppel or Res Judicata Regarding Movants’ Status as General Partners.

       30.      Finally, Movants argue that the Court must conclude that either (i) Movants are not

general partners or (ii) the Court lacked jurisdiction to enter any orders in Case No. 17-40179

because only 3 Well MGP, LLC signed the bankruptcy petition. See Subject Motion at pp. 18-21.

Movants’ argument fails because it is based on the incorrect premise that “a case involving a

partnership is an involuntary case if the petition is signed ‘by fewer than all of the general partners

in such partnership.’” Id. at p. 18 (quoting 11 U.S.C. § 303(b)(3)(A)). Movants’ premise is

incorrect because 11 U.S.C. § 303(b)(3)(A) applies only to involuntary partnership bankruptcy

cases. “The general rule has emerged that authority to bind an entity to a voluntary petition in

bankruptcy is determined by state law.” Union Planters Nat’l Bank v. Hunters Horn Assocs. (In

re Hunters Horn Assocs.), 158 B.R. 779, 730 (Bank. M.D. Ten. 1993) (citing, inter alia, Phillips

v. First City (In re Phillips), 966 F.2d 933 (5th Cir. 1992)). This rule is bolstered by the Advisory

Committee notes to Rule 1004 which explain:

       Section 303(b)(3)(A) of the Code provides that fewer than all of the general partners
       in a partnership may commence an involuntary case against the partnership. There
       is no counterpart provision in the Code setting out the manner in which a
       partnership commences a voluntary case. The Supreme Court has held in the
       corporate context that applicable nonbankruptcy law determines whether authority
       exists for a particular debtor to commence a bankruptcy case. See Price v. Gurney,
       324 U.S. 100 [89 L. Ed. 776] (1945). The lower courts have followed this rule in
       the partnership context as well. See, e.g., Jolly v. Pittore, 170 B.R. 793 (S.D.N.Y.
       1994); Union Planters National Bank v. Hunters Horn Associates, 158 B.R. 729
       (Bankr. M.D. Tenn. 1993); In re Channel 64 Joint Venture, 61 B.R. 255 (Bankr.
       S.D. Oh. 1986).

Notes of Advisory Committee on 2002 Amendments to FED. R. BANKR. P. 1004 (emphasis added).

Here, 3 Well LP’s voluntary bankruptcy petition was filed by “Jeff Cohen” as “Managing Member

of 3 Well MGP, LLC as managing general partner of debtor.” Docket No. 1 in Case No. 17-40179

at p. 4. What’s more, the Movants who filed objections to the Joint 9019 Motions explained that




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they voluntarily asked 3 Well LP’s attorney to file for bankruptcy protection to obtain “necessary

funds to defend against” the claims asserted in the LP Adversary Proceeding. See Docket Nos.

156, 157, 164, 189, 177, 208, 219, 234, 242-245, & 257 in Case No. 16-41044. In short, Movants

provide no valid reason for the Court to consider Movants’ estoppel and res judicata arguments.


                                                     PRAYER

        WHEREFORE, PREMISES CONSIDERED, Jason R. Searcy, Chapter 7 Trustee for the

bankruptcy estates of Payson Petroleum, Inc., Payson Operating, LLC, and Maricopa Resources,

LLC and Christopher J. Moser, Chapter 7 Trustee for the bankruptcy estates of Payson Petroleum

3 Well, L.P. and Payson Petroleum 3 Well 2014, L.P. respectfully request that the Court deny

Movants’ Motion to Dismiss and grant them such other and further relief to which they may be

justly entitled.

Dated: November 20, 2018                               Respectfully submitted,

                                                       SNOW SPENCE GREEN LLP

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                                                               RESOURCES, LLC AND FOR



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                                                                  CHRISTOPHER J. MOSER, CHAPTER 7
                                                                  TRUSTEE FOR PAYSON PETROLEUM
                                                                  3 WELL, L.P. AND PAYSON
                                                                  PETROLEUM 3 WELL 2014, L.P.

                                         CERTIFICATE OF SERVICE

        The undersigned certifies that on November 20, 2018, a true and correct copy of this the
foregoing Joint Response to Motion of Various Defendants to Dismiss and Brief in Support was
served via the Court’s electronic case filing system and via email upon all counsel of record as
indicated below.

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